     Case 5:12-cr-40043-JAR     Document 25   Filed 05/08/12   Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                 Case No. 12-40043-01/02-RDR

JAVIER VAZQUEZ-HERNANDEZ
and JOSE LUIS OSORIEO-TORRES,

                  Defendants.


                                  O R D E R

     This matter is presently before the court upon defendants’

motions for an extension of time to file pretrial motions.                   Both

defendants seek an extension of 31 days.                Defendant Vazquez-

Hernandez seeks an extension so he can discuss the discovery with

his counsel and so his counsel can conduct an investigation of his

case and research the applicable law.            Defendant Osorieo-Torres

also seeks an extension so his counsel can conduct an investigation

of this matter.    Both defendants note that the government does not

object to these motions.          These are the first requests for a

continuance in this case by either defendant.

     The defendants are charged in a two-count indictment with (1)

conspiracy to possess with intent to distribute 500 grams of more

of a mixture or substance containing a detectable amount of

methamphetamine in violation of 21 U.S.C. § 846 and (2) possession

with intent to distribute 50 grams or more of a mixture or

substance containing a detectable amount of methamphetamine in
     Case 5:12-cr-40043-JAR   Document 25   Filed 05/08/12   Page 2 of 3




violation of 21 U.S.C. § 841(a)(1).          The indictment also seeks

forfeiture of certain property.         The defendants are in custody

pending trial. The current deadline for filing pretrial motions is

May 1, 2012.

     Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), the court

may exclude a period of delay from the time computed under the

Act’s deadlines for starting a trial if the court finds that the

ends of justice served by granting the continuance outweigh the

best interests of the public and the defendant in a speedy trial.

To make this determination, the court must consider the following

factors “among others:”        1) whether the failure to grant the

continuance would likely make the continuation of the proceeding

impossible or result in a miscarriage of justice; 2) whether the

case is unusual, complex or contains novel issues which require

additional time for preparation; 3) whether there was a delay in

filing the indictment which justifies a continuance; and 4) whether

the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, or deny either side continuity

of counsel or deny the attorney for the government or defendant the

reasonable time necessary for effective preparation, taking into

account the exercise of due diligence.

     After full consideration, the court finds that the denial of

the requested extension may deny counsel and defendants the time

necessary to adequately prepare for trial, taking into account the


                                    2
     Case 5:12-cr-40043-JAR   Document 25   Filed 05/08/12   Page 3 of 3




exercise of due diligence.      The court believes that the requested

continuance is in the interests of the public and the parties

because it will facilitate a fair, just and efficient resolution of

this matter.

     In sum, the court finds that the continuances requested are in

the interests of justice which outweigh the interests of the public

and the defendants in a speedy trial.       Therefore, the continuance

requested constitutes excludable time under 18 U.S.C. § 3161(h)(7).

     The defendants’ motions shall be granted and they shall be

allowed until June 1, 2012 in which to file pretrial motions.              The

government shall be allowed until June 11, 2012 to file its

responses.   The hearing on all pretrial motions filed in this case

shall be held on June 25, 2012 at 9:30 a.m.

     IT IS SO ORDERED.

     Dated this 7th day of May, 2012 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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